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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-00229-RBJ

UNITED STATES OF AMERICA,

      Plaintiff,

v.

DAVITA INC., and
KENT THIRY,

      Defendants.


                                      ORDER



      The Court, having considered the Unopposed Motion of Chamber of Commerce of

the United States Of America to Participate as Amicus Curiae and Brief Supporting

Defendants’ Joint Motion to Dismiss Indictment, filed September 21, 2021, is of the

opinion that the same should be GRANTED.

      SO ORDERED.

      Dated _____, 2021.



                                       _____________________________________
                                         R. BROOKE JACKSON
                                         UNITED STATES DISTRICT JUDGE
